
OPINION.
Van Fossan:
We are unable to determine from the record either the cost or the March 1,1913, value of the assets which were destroyed by fire in 1920. The facts submitted are meagre and the testimony of the treasurer of the petitioner corporation, the sole witness at the hearing, is confusing and conflicting.
The petitioner in arriving at the alleged loss of $9,160.38, stated that it used as a basis one-half of the 1920 replacement value of the plant as representing a March 1, 1913, value and deducted *671therefrom that portion of the insurance received applicable to the plant. This measure of value is purely an estimate or a crude approximation. It is not sufficient.
The burden of proof is on the petitioner to submit such evidence as will enable us to decide that the determination of the respondent is incorrect. This the petitioner has wholly failed to do.

Judgment will be entered for the respondent.

Considered by MaRquette and Phillips.
